         Case 1-21-40870-jmm                   Doc 20-1         Filed 07/01/21          Entered 07/01/21 09:38:12

             Blue Business» Plus Credit Card                                                                                    p. 1/8
             274-276 HAMILTON LLC
             YEKATERINA TUMAYEVA                                                                             Customer Care: 1-800-521-6121
             Closing Date 03/11/21   Next Closing Date 04/09/21                                              TTY:           1-800-221-9950
             Account Ending     1008                                                                         Website: americanexpress.com

                                                                                               Membership Rewards® Points
  New Balance                                                      $10,247.82                  Available and Pending as of 01/31/21
  Minimum Payment Due                                               $1,398.00                                                     121,472
                                                                                               For up to date point balance and full program
      Includes the past due amount of $60.00                                                   details, visit membershiprewards.com
  Payment Due Date                                                    04/05/21               Account Summary
       Late Payment Warning: If we do not receive your Minimum Payment Due by                  Previous Balance                    $5,978.19
       the Payment Due Date of 04/05/21, you may have to pay a late fee of up to               Payments/Credits                       -$0.00
       $39.00 and your APRs may be increased to the Penalty APR of 29.24%.                     New Charges                        +$4,033.08
                                                                                               Fees                                 +$39.00
                                                                                               Interest Charged                    +$197.55




Minimum Payment Warning: If you make only the minimum payment each period,                     New Balance                       $10,247.82
you will pay more in interest and it will take you longer to pay off your balance. For         Minimum Payment Due                $1,398.00
example:
                                                                                               Credit Limit                         $6,800.00
If you make no additional        You will pay off the balance   And you will pay an            Amount Above the Credit Limit        $3,447.82
charges and each month           shown on this statement in     estimated total of...
you pay...                       about...
                                                                                               Days in Billing Period: 31
        Only the
  Minimum Payment Due                      18 years                       $17,851

If you would like information about credit counseling services, call 1-888-733-4139.

     See page 2 for important information about your account.


     New York Residents: New York Residents may contact the New York State
     Department of Financial Services by telephone or visit its website for free
     information on comparative credit card rates, fees, and grace periods. New York
     Department of Financial Services: 1-800-342-3736 or www.dfs.ny.gov.

     Your account is past due.

     Please refer to the IMPORTANT NOTICES section for any changes to
     your Account terms and any other communications on
     pages 5 - 7.

                                                                      Continued on page 3

  Please fold on the perforation below, detach and return with your payment
 á                                                                             á
      Payment Coupon                           Pay by Computer                      Pay by Phone                  Account Ending         1008
      Do not staple or use paper clips         americanexpress.com/                 1-800-472-9297
                                               business                                              Enter 15 digit account # on all payments.
                                                                                                     Make check payable to American Express.


                    YEKATERINA TUMAYEVA                                                                                     Payment Due Date
                    274-276 HAMILTON LLC                                                                                          04/05/21
                    274-276 HAMILTON LLC
                    155 OCN DR E APT 1 H                                                                                         New Balance
                    BROOKLYN NY 11235                                                                                           $10,247.82
                                                                                                                     Minimum Payment Due
                                                                                                                                 $1,398.00



       See reverse side for instructions                AMERICAN EXPRESS                                             $                   .
       on how to update your address,                   P.O. BOX 1270                                                        Amount Enclosed
       phone number, or email.                          NEWARK NJ 07101-1270

                                                        *071011270704*




                                                           EXHIBIT A
           Case 1-21-40870-jmm              Doc 20-1         Filed 07/01/21          Entered 07/01/21 09:38:12

            Blue Business» Plus Credit Card                                                                                 p. 3/8
            274-276 HAMILTON LLC
            YEKATERINA TUMAYEVA
            Closing Date 03/11/21                                                                             Account Ending          1008

        Customer Care & Billing Inquiries        1-800-521-6121 Hearing Impaired
        International Collect                    1-623-492-7719 TTY: 1-800-221-9950                      Website: americanexpress.com
        Large Print & Braille Statements         1-800-521-6121 FAX: 1-623-707-4442
        Cash Advance at ATMs Inquiries           1-800-CASH-NOW In NY: 1-800-522-1897              Customer Care
                                                                                                   & Billing Inquiries   Payments
                                                                                                   P.O. BOX 981535       P.O. BOX 1270
                                                                                                   EL PASO, TX           NEWARK NJ 07101-
                                                                                                   79998-1535            1270




                                     Please note, your spending limit is $7,800.00. You have spent $10,247.82.



 New Charges
 Summary
                                                                                                                                     Total
Total New Charges                                                                                                            $4,033.08


 Detail
       YEKATERINA TUMAYEVA
       Card Ending 1008
                                                                                                                               Amount
02/25/21     PAYUSATAX CONV. FEE 000000001                        NASHVILLE                   TN                                 $39.20
             6157306367
02/25/21     US TREASURY TAX PAYMENT 000000001                    NASHVILLE                   TN                              $2,000.00
             6157306367
02/26/21     WF4 DTF RTN *SERVICE FEE                             CONCORD                     CA                                 $43.88
             518-457-5181
02/26/21     NYS DTF PIT RTN PAYMENT                              ALBANY                      NY                              $1,950.00
             518-457-5181


 Fees

                                                                                                                               Amount
03/05/21     Late Payment Fee                                                                                                    $39.00

Total Fees for this Period                                                                                                       $39.00



 Interest Charged

                                                                                                                               Amount
03/11/21     Interest Charge on Purchases                                                                                            $0.19
03/11/21     Interest Charge on Promotional Balances                                                                            $197.36

Total Interest Charged for this Period                                                                                         $197.55

About Trailing Interest
You may see interest on your next statement even if you pay the new balance in full and on time and make no new charges. This is called
"trailing interest". Trailing interest is the interest charged when, for example, you didn't pay your previous balance in full. When that
happens, we charge interest from the first day of the billing period until we receive your payment in full. You can avoid paying interest
on purchases by paying your balance in full and on time each month. Please see the "When we charge interest" sub-section in your
Cardmember Agreement for details.




                                                                                                                    Continued on reverse




                                                        EXHIBIT A
           Case 1-21-40870-jmm                Doc 20-1         Filed 07/01/21            Entered 07/01/21 09:38:12

 YEKATERINA TUMAYEVA                                      Account Ending          1008                               p. 4/8




 2021 Fees and Interest Totals Year-to-Date
                                                                                                                        Amount
 Total Fees in 2021                                                                                                      $39.00
 Total Interest in 2021                                                                                                  $197.55




 Interest Charge Calculation
 Your Annual Percentage Rate (APR) is the annual interest rate on your account.
                                                                                 Annual        Balance Subject           Interest
                                                                         Percentage Rate       to Interest Rate           Charge

Purchases                                                                         29.24% (v)             $7.56                $0.19

Introductory Purchase                                                             29.24% (v)         $7,948.00           $197.36
Rate Expires 06/10/2021 then will go to 13.24% (v)
Total                                                                                                                   $197.55
(v) Variable Rate




                                                          EXHIBIT A
